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                            IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF SOUTH CAROLINA

                                     FLORENCE DIVISION

 Ronald D. Smith, Roger D. Smith, and            )     Civil Action No. 4:18-cv-00469-DCC
 Dianne C. Smith,                                )
                                                 )
                                  Plaintiffs,    )
                                                 )         STIPULATION OF DISMISSAL
                vs.                              )              WITH PREJUDICE
                                                 )
 American General Life Insurance                 )
 Company,                                        )
                                                 )
                                   Defendant.    )
                                                 )

       THE PARTIES HEREBY STIPULATE AND AGREE that, pursuant to Rule

41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the above-captioned action and all claims

asserted therein are hereby DISMISSED, with prejudice.

       THE PARTIES FURTHER STIPULATE AND AGREE that each party shall be

responsible for its own costs and attorneys’ fees.

 WE SO STIPULATE:                                    WE SO STIPULATE:

 BARTH, BALLENGER & LEWIS, LLP                       NELSON MULLINS RILEY &
                                                     SCARBOROUGH LLP

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October 19, 2018
